           Case 1:20-cv-10974-IT Document 11 Filed 11/18/20 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



                                                     Civil Action No. 1:20-cv-10974-IT
DMITRIY ZUBOV, Individually and on
Behalf of All Others Similarly Situated

       Plaintiff,

v.

RADIUS GLOBAL SOLUTIONS, LLC

       Defendant.



                        STIPULATION AND ORDER OF DISMISSAL


       IT IS HEREBY STIPULATED AND AGREED, on this 18th day of November, 2020, by

and between Plaintiff Dmitriy Zubov and Defendant Radius Global Solutions, LLC, that pursuant

to Fed. R. Civ. P. 41, this action be dismissed with prejudice, with each party to bear his or its own

attorney’s fees, costs and expenses incurred.



 By: /s/Kevin Crick______________                  /s/ John J. O’Connor_______
 Kevin Crick, Esq. (BBO#680950)                    John J. O’Connor, Esq. (BBO#555251)
 Rights Protection Law Group, PLLC                 Peabody & Arnold
 100 Cambridge St., Suite 1400                     600 Atlantic Avenue,
 Boston, Massachusetts 02114                       Boston, MA 02110-1781
 Phone: (844) 574-4487                             Telephone: (617) 951-2077
 Facsimile: (888) 622-3715                         Facsimile: (617) 235-3524
                                                   joconnor@peabodyarnold.com
 Attorney for the Plaintiff Dmitriy Zubov
                                                   Counsel for Defendant           Radius    Global
                                                   Solutions, LLC
        Case 1:20-cv-10974-IT Document 11 Filed 11/18/20 Page 2 of 3




                                      /s/ Morgan Marcus
                                      Morgan Marcus, Esq.
                                      Sessions, Fishman, Nathan & Israel
                                      141 W. Jackson Blvd., Suite 3550
                                      Chicago, IL 60604-2992
                                      Telephone: (312) 578-0985
                                      Facsimile: (877) 334-0661
                                      mmarcus@sessions.legal

                                      Counsel for Defendant       Radius   Global
                                      Solutions, LLC




                                      APPROVED BY THE COURT:

Dated: ________________               __________________________________
                                      HON. INDIRA TALWANI        U.S.D.J.
           Case 1:20-cv-10974-IT Document 11 Filed 11/18/20 Page 3 of 3




                                    CERTIFICATE OF SERVICE

       I, Kevin Crick, Esq., hereby certify that a true copy of the foregoing document filed through

the ECF system will be electronically sent to the registered participants as identified on the Notice

of Electronic Filing and paper copies will be sent to those indicated as non-registered participants

on November 18, 2020.
